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           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   JONESBORO DIVISION

ELIZABETH ELLSWORTH                                          PLAINTIFF

v.                       No. 3:18-cv-194-DPM

PUMPKIN HOLLOW LLC                                        DEFENDANT

                                ORDER
     Unopposed motion, NQ 14, mostly granted and partly denied.
Mr. Schrum is relieved with the Court's thanks and congratulations.
But to keep this case on track, Mr. Pecher must remain. The Court notes
that Ellsworth is seeking new counsel. Any motion to substitute is due
by 29 November 2019. An Amended Final Scheduling Order, resetting
the remaining deadlines, will issue.
     So Ordered.




                                 D.P. Marshall Jf
                                 United States District Judge
